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10                    UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF WASHINGTON
11   In re:                                )     Case No. 19-01189-WLH11
     ASTRIA HEALTH, et al.,                )
     Debtor(s)                             )
12                                         )
     ASTRIA HEALTH, et al.,                )     Adv. Proc. No. 21-80005-WLH
13                                         )
                 Plaintiffs,               )
                                           )     DEFENDANTS’ REPLY IN
14   v.                                    )
                                           )     FURTHER SUPPORT OF
                                           )     PARTIAL MOTION TO DISMISS
15   CERNER CORPORATION AND                )
     CERNER REVWORKS, LLC,                 )
16                                         )
                 Defendants.               )
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     Cerner’s Reply ISO Motion to Dismiss - 1
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 1   I.      INTRODUCTION

 2           Astria has not offered well-pleaded facts to establish other Washingtonians

 3   “have been or will be injured in exactly the same fashion” as Astria claims it was

 4   injured, a threshold requirement for any CPA claim according to the Washington

 5   Supreme Court. Instead, Astria’s best argument for why the Court should allow its

 6   CPA claim to survive is based on pure dicta from the Washington State Court of

 7   Appeals in Behnke v. Ahrens, 172 Wash. App. 281 (2012).

 8           The intermediate appellate court’s dicta in Behnke is inconsistent with other

 9   (non-dicta) holdings from the same court and the Ninth Circuit. Moreover, Astria

10   fails to appreciate that the non-dicta portion of the Behnke opinion—holding that

11   “[t]o establish an unfair or deceptive act, there must be shown a real and substantial

12   potential for repetition”—is equally fatal to is CPA claim. See Behnke, 172 Wash.

13   App. at 295.

14           Astria also cannot get around the fact it is a sophisticated business entity “not

15   representative of bargainers vulnerable to exploitation,” which the Washington

16   State Court of Appeals has also explained is fatal to a CPA claim. See Goodyear

17   Tire & Rubber Co. v. Whiteman Tire, Inc., 935 P.2d 628, 635 (Wash. Ct. App. 1997)

18   (affirming dismissal of a tire dealership’s CPA claims against Goodyear because

19   “as a matter of law Goodyear’s alleged unfair and deceptive acts did not affect the

20   public interest”).


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 1         Cerner’s alleged conduct does not qualify as an “unfair or deceptive practice”

 2   under the CPA. Cerner’s alleged conduct in this entirely private dispute between

 3   two parties likewise does not affect the public interest. The CPA is not intended to

 4   be a vehicle for sophisticated parties to litigate their private disputes.

 5   II.   ARGUMENT

 6         A.      Astria cannot satisfy the Washington Supreme Court’s requirement to
                   show other Washingtonians “have been or will be injured in exactly
 7                 the same fashion” as Astria.

 8         Astria focuses its Objections on the Washington Court of Appeals’ dicta in

 9   Behnke v. Ahrens, 172 Wash. App. 281 (2012), which Astria claims somehow

10   overturns the Ninth Circuit Court of Appeals’ decision in Swartz v. KPMG (“Swartz

11   II”), 476 F.3d 756, 761 (9th Cir. 2012). In addition to failing to provide relevant

12   governing authority that would overrule the logic and holding in Swartz II, Astria

13   has not (and cannot) meet the Washington Supreme Court’s requirement that any

14   plaintiff who asserts a CPA claim establish other Washingtonians “have been or

15   will be injured in exactly the same fashion” as plaintiff (Astria) claims it was injured.

16   Hangman Ridge Training Stables, Inc. v. Safeco Title Ins. Co., 105 Wash. 3d 778,

17   790 (1986).

18         Astria does not dispute Hangman Ridge controls when outlining the elements

19   of a CPA claim. In fact, Astria relies on Hangman Ridge in its Objections so many

20   times the Table of Authorities simply lists “passim” rather than specifically calling


     Cerner’s Reply ISO Motion to Dismiss - 3
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 1   out all pages where the cite appears. Nevertheless, Astria impliedly admits it cannot

 2   plead facts demonstrating any other Washingtonian consumer has “been or will be

 3   injured in exactly the same fashion” as Astria. Instead, this is precisely the type of

 4   private dispute the court in Hangman Ridge determined should not be dragged into

 5   the CPA’s purview.

 6         While Astria attempts to paint Cerner as the corporate version of a fly-by-

 7   night snake-oil salesman, Cerner’s more than 40-year track record and position as

 8   one of the leading EHR vendors in the US and abroad tells a completely different

 9   story. The best argument Astria can muster is a generic listing of other lawsuits or

10   disputes involving Cerner litigation (with non-Washington entities) involving

11   materially different healthcare organizations and products and services from those

12   at issue in the instant case. Suffice it to say, alleging a Fortune 500 company has

13   previously had business disputes with six clients—without pleading the other

14   business entities have any connection to the State of Washington—is not probative

15   evidence demonstrating other Washington consumers are at risk of suffering

16   “injur[y] in exactly the same fashion” as Astria. See Hangman Ridge, 105 Wash. 3d

17   at 790.

18         Astria has not pleaded (and does not refute) Cerner’s argument that the

19   software solutions and services at issue in this private dispute were never marketed

20   to the general public. And Astria has not pleaded any non-conclusory or concrete


     Cerner’s Reply ISO Motion to Dismiss - 4
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 1   facts to demonstrate Cerner has marketed the same software, solutions, and services

 2   at issue here to any other healthcare system or organization in the State of

 3   Washington. Astria’s speculative, conclusory, and hypothetical claim of some

 4   conjectural risk to one of Washington’s few healthcare organizations cannot support

 5   a CPA claim.

 6         In fact, in the non-dicta portion of the Behnke case Astria relies on so heavily

 7   in its Objections, the appellate court held: “[t]o establish an unfair or deceptive act,

 8   there must be shown a real and substantial potential for repetition, as opposed to a

 9   hypothetical possibility of an isolated unfair or deceptive act’s being repeated.”

10   Behnke, 172 Wash. App. at 295 (citing Michael v. Mosquera-Lacy, 165 Wash. 2d

11   595, 604-05 (2009), and Burns v. McClinton, 135 Wash. App. 285, 303-06 (2006)).

12         The plaintiffs in Behnke alleged the defendant (their prior attorney) failed to

13   disclose a direct financial interest in the same transaction where he was providing

14   plaintiffs legal advice (a clear conflict of interest). Behnke, 172 Wash. App. at 295.

15   In support of their claim the attorney’s conduct violated the CPA, plaintiffs offered

16   evidence the defendant wrote engagement letters to other clients in similar

17   transactions and had similarly failed to disclose his personal stake in the transaction

18   and, thus, the attorney was likely to repeat his deceptive or unfair conduct to injure

19   other clients. Id. The Court of Appeals disagreed.

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 1          The Behnke court reasoned, at best, plaintiffs could demonstrate the

 2   defendant represented other clients with respect to the particular controversial

 3   transaction at issue. “[B]ut it does not establish that the alleged deceptive act—

 4   failure to disclose aspects of his continuing financial relationship with Heritage—

 5   was repeated with these other clients or was likely to be repeated with other future

 6   clients.” Behnke, 172 Wash. App. at 295. Accordingly, the Behnke court held:

 7   “[g]iven the belated, conclusory, and speculative nature of the Behnkes’ response

 8   below, the trial court did not err in dismissing the Consumer Protection Act

 9   claim . . ..” Id.

10          The plaintiffs in Behnke could at least point to specific additional Washington

11   clients who had hired the same defendant, for essentially the same services in the

12   same controversial transaction, who could have also been harmed in the same

13   fashion as plaintiffs. Nevertheless, the Behnke court held plaintiffs’ evidence was

14   not sufficient to establish a CPA claim. Astria’s claim is even more tenuous because

15   it cannot plead similar facts to the plaintiffs in Behnke (evidence of other similar

16   transactions involving similar software or services). Instead, Astra fails to identify

17   a single well-pled fact to suggest Cerner similarly marketed or sold the same

18   products or services at issue to any other Washington healthcare organization (or

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     Cerner’s Reply ISO Motion to Dismiss - 6
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 1   even to the six clients located outside the state who allegedly had previous disputes

 2   with Cerner).1

 3           Astria has failed to plead any facts to “show[] a real and substantial potential

 4   for repetition, as opposed to a hypothetical possibility of an [alleged] isolated unfair

 5   or deceptive act’s being repeated.” Behnke, 172 Wash. App. at 295. According to

 6   both the Washington Supreme Court and the Washington Court of Appeals

 7   (Western District), Astria’s claims should be dismissed due to the absence of a

 8   fundamental element. See Hangman Ridge, 105 Wash. 3d at 790; see also Behnke,

 9   172 Wash. App. at 295.

10

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     1
         As with any other technology, Cerner’s software solutions are ever-evolving. Some
14
     technology is replaced entirely by newer technology. New code versions are released and
15
     installed by various clients according to their particular goals, financial ability, and need.
16
     And ancillary services to design, install, and support the various solutions likewise evolve
17
     over time. Thus, Astria’s attempt to use a 2014 dispute with a hospital system outside
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     Washington State, for example, as supposed evidence of similar (not identical) prior injury
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     does nothing to establish an alleged real and concrete risk another Washington hospital
20   will suffer an alleged “injur[y] in exactly the same fashion” as Astria alleges.


     Cerner’s Reply ISO Motion to Dismiss - 7
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 1         B.     Whether a given act or specific conduct has “the capacity to deceive a
                  substantial portion of the public” is a question of law—not a question
 2                of fact.

 3         “An act is unfair or deceptive if it ‘had the capacity to deceive a substantial

 4   portion of the public.’” State v. LA Investors, LLC, 2 Wash. App. 2d 524, 538 (2018)

 5   (quoting Panag v. Farmers Ins. Co. of Wash., 166 Wash. 2d 27, 47 (2009)).

 6   Throughout its Objections, Astria attempts to conflate the first element for a CPA

 7   claim with the separate and independent (third) element requiring Astria to

 8   demonstrate a “public interest impact.” See Hangman Ridge, 105 Wash. 2d at 780

 9   (setting forth the five elements of a CPA claim). However, Astria should not be

10   allowed to attempt to confuse the issues of law with the issues of fact.

11          “Whether an act is unfair or deceptive under the CPA is a question of law.”

12   LA Investors, 2 Wash. App. 2d at 538 (citing State v. Mandatory Poster Agency,

13   Inc., 199 Wash. App. 506, 520-22, review denied, 189 Wash. 2d 1021 (2017)).

14   Moreover, the question of capacity to deceive a substantial portion of the public is

15   also a question of law for the Court (and not a question of fact). LA Investors, 2

16   Sash. App. at 539-40 (“We determine the issue is one of law, not fact. Accordingly,

17   we conclude that the trial court properly analyzed whether LRO’s mailer had the

18   capacity to deceive a substantial portion of the public as a question of law . . ..”);

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     Cerner’s Reply ISO Motion to Dismiss - 8
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 1   Goodyear Tire, 935 P.2d at 635 (“Whether a particular act or practice gives rise to

 2   a CPA violation is a question of law.”). 2

 3

 4
     2
         After explaining the question of whether a “particular act or practice gives rise to
 5
     a CPA violation is a question of law,” the Goodyear Tire court went on to hold that
 6
     because the case involved a dispute between two sophisticated parties in a business
 7
     transaction, as a matter of law the plaintiff’s CPA claim failed. The court stated, “as
 8
     a matter of law Goodyear’s alleged unfair and deceptive acts did not affect the
 9
     public interest.” Goodyear Tire, 935 P.2d at 635. Despite the court’s allusion to “the
10
     public interest” (i.e., terminology most closely aligned with the third element of a
11
     CPA claim), the court’s rationale and holding was clearly focused on the first
12
     element (i.e., what conduct qualifies as unfair or deceptive as a matter of law) rather
13
     than the third.
14
              Astria focuses nearly all its effort on the third element, offering up an
15
     improper strawman argument alleging its closure of one of its hospitals, allegedly
16
     due to Cerner’s conduct, adversely affected the public. Cerner disputes Astria’s
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     position and the facts do not support it. But for purposes of this Motion, Astria’s
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     arguments are simply irrelevant. Before Astria’s strawman “public interest”
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     argument can be relevant, Astria must satisfy the first element of demonstrating
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     Cerner’s Reply ISO Motion to Dismiss - 9
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 1         The Court may (and should) determine and resolve the issue. The issue is

 2   ripe. Astria’s response makes clear it cannot plead facts supporting the essential

 3   element of whether Cerner’s alleged conduct had the capacity to deceive a

 4   substantial portion of the public. The parties need not waste time and resources

 5   arguing about the CPA when Astria’s claims and alleged injury concern a one-off,

 6   private, dispute between two sophisticated business entities who negotiated their

 7   non-consumer deal at arms’ length.

 8         C.     Dicta by the Washington court of appeals does not negate the Ninth
                  Circuit Court of Appeals’ clear and unambiguous precedent.
 9
           Beyond failing to explain how it could possibly make a threshold showing
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     that Washington consumers have “been or will be injured in exactly the same
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     fashion,” Astria asks the Court to ignore directly relevant binding Ninth Circuit
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     precedent to save its CPA claim. According to Astria, the Court must ignore the
13
     Ninth Circuit’s instruction that “a scheme marketed to a ‘select audience’ of
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16
     Cerner’s conduct and the nature of the dispute “gives rise to a CPA violation.”
17
     Factually and legally indistinguishable cases from the Washington Supreme Court,
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     the Washington Court of Appeals, and the Ninth Circuit demonstrate Astria cannot
19
     meet its legal burden.
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     Cerner’s Reply ISO Motion to Dismiss - 10
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 1   persons . . . lacks the capacity to deceive the substantial portion of the public.”

 2   Swartz v. KPMG (“Swartz II”), 476 F.3d 756, 761 (9th Cir. 2012). Astria does not

 3   support its argument by referencing a more recent opinion by the Washington

 4   Supreme Court or the Ninth Circuit. Instead, Astria asks the Court to reject the

 5   Ninth Circuit’s holding in Swartz II and to apply dicta from an intermediate

 6   Washington appellate court (in Behnke). The Ninth Circuit’s reasoning in Swartz II

 7   was, and remains, sound.

 8         In Swartz II, the Ninth Circuit correctly recognized that, under some

 9   circumstances, the number of consumers who could potentially be at risk is so small

10   the group cannot logically be deemed a “substantial portion of the public” without

11   straining credulity. As Astria notes in its Objections, there are only approximately

12   117 hospitals in the State of Washington. See Objections at p. 13, fn. 8. It is difficult

13   to fathom how a group of 117 hospitals could possibly represent a “substantial

14   portion of the public” (in a state comprised of approximately 7.6 million citizens).

15         Moreover, Astria claims Cerner engaged in alleged unfair or deceptive

16   conduct with respect to only one of Washington’s health systems (Astria). Astria

17   admits it has no evidence to support additional well-pleaded facts regarding risk to

18   a “substantial portion of the public.” The best Astria could muster in its response

19   was that “Cerner may have already solicited any number of [other hospitals] before

20   Astria, or they may have had (or still have) plans to do so.” Objections at p. 13. In


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 1   other words, Astria offers nothing more than a “hypothetical possibility of an

 2   [alleged] isolated unfair or deceptive act’s being repeated,” which the court in

 3   Behnke held is not enough. Behnke, 172 Wash. App. at 295.

 4         The Court, sitting in diversity, “must apply the substantive law of the forum

 5   state.” See Takahashi v. Loomis Armored Car Serv., 625 F.2d 314, 316 (9th Cir.

 6   1980). When there is no controlling state court decision or law on a particular issue

 7   of substantive law, the federal court’s obligation in a diversity case is to apply “our

 8   own best judgment in predicting how the state’s highest court would decide the

 9   case.” Fiorito Bros. Inc. v. Fruehauf Corp., 747 F.2d 1309, 1314 (9th Cir. 1984).

10   Here, the parties agree the Washington Supreme Court has not specifically

11   addressed the “substantial portion of the public” question presented here. But the

12   Ninth Circuit has. Astria, not liking the Ninth Circuit’s holding and rationale, argues

13   in favor of ignoring the Ninth Circuit and instead urges the Court to apply the

14   Washington Court of Appeals’ pure dicta in Behnke. Astria, presumably

15   recognizing its argument is based on dicta, goes so far as to suggest the Court must

16   follow dicta by an intermediate state court of appeals, citing and selectively quoting

17   Rocky Mountain Fire & Casualty Co. v. Dairyland Ins. Co., 452 F.2d 603, 603-04

18   (9th Cir. 1971), in a footnote. See Objections at p. 12, fn.7. First, the Ninth Circuit

19   in Rocky Mountain was referencing dicta by the state’s (Arizona) Supreme Court,

20   not an intermediate court of appeals. Second, two years later, in Hartford Accident


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 1   & Indemnity Co. v. Aetna Casualty & Surety Co., 792 P.2d 749, 755 (Ariz. 1990),

 2   the Arizona Supreme Court said the Ninth Circuit’s application of its earlier dicta

 3   was improper, forcing the court to “overrule” its prior dicta to the extent it could be

 4   interpreted as rejecting equitable subrogation.

 5         There are inherent risks in attempting to divine a state’s substantive law based

 6   on dicta, even from the state’s highest court. In any event, the Court certainly is not

 7   bound by dicta from an intermediate state court of appeals. The Ninth Circuit’s

 8   well-reasoned (non-dicta) holding in Swartz II should guide the Court. The Ninth

 9   Circuit’s opinion is also in line with other Washington state court opinions. The

10   Washington Court of Appeals applied the same rationale (though under the third,

11   public interest, element) in Goodyear Tire, a case Cerner cited in its moving brief

12   (which Astria did not address in its Objections). The Court in Goodyear was asked

13   whether one (of many) tire dealers could maintain a CPA claim against Goodyear

14   Tire based on allegations Goodyear provided false profit projections unfairly or

15   deceptively to entice the dealer (and other dealers) into entering deals with

16   Goodyear. Goodyear Tire, 86 Wash. App. at 744-45. The Goodyear Tire court held

17   no CPA claim existed:

18                [T]he relationship between [Goodyear] and [the plaintiff] was
           not typical of those present in cases giving rise to cognizable consumer
19         protection complaints. Rather, [the plaintiff] was an experienced
           businessman who had dealt with Goodyear for years. Even dealers
20         without such a long association with Goodyear were persons whose
           experience indicated they were better able than the average consumer

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 1         to judge for themselves the risks associated with Goodyear’s proposals.
           They are not representative of bargainers vulnerable to exploitation.”
 2
           Id. at 745.
 3
           The Goodyear Tire court did not have to look any further than the fact the
 4
     plaintiff/tire dealer was “not representative of bargainers vulnerable to exploitation”
 5
     to “hold as a matter of law Goodyear’s alleged unfair and deceptive acts did not
 6
     affect the public interest” and to affirm the trial court’s dismissal of the CPA claim.
 7
     Id. The Goodyear Tire court’s holding is fatal to Astria’s CPA claim. There is no
 8
     meaningful way for Astria to distinguish its CPA claim from the plaintiff/tire
 9
     dealer’s claim in Goodyear. Astria is “not representative of bargainers vulnerable
10
     to exploitation.” See id. Rather, Astria’s “experience indicated [it] w[as] better able
11
     than the average consumer to judge for [itself] the risks associated with [Cerner’s]
12
     proposals.” See id. Indeed, Astria specifically represented to Cerner in the Cerner
13
     Business Agreement that it was a sophisticated business entity contemporaneous
14
     with its voluntary agreement to “waive all protections of any trade practices statutes.”
15
     See ECF No. 11 at ¶ 622.
16
           If the Court properly applies the non-dicta portion of the Washington State
17
     Court of Appeal’s decision in Behnke, Swartz II become a moot point because
18
     Astria admittedly has no way to plead or prove other Washington consumers have
19
     been or will be injured in exactly the same fashion as Astria alleges it was injured.
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     Regardless, the Ninth Circuit’s instruction in Swartz II “that, as a matter of law, a

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 1   scheme marketed to a ‘select audience’ of persons . . . lacks the capacity to deceive

 2   the substantial portion of the public” remains good law based on sound logic and a

 3   rational understanding of the English language. Swartz v. KPMG (“Swartz II”), 476

 4   F.3d 756, 761 (9th Cir. 2012). It also remains consistent with other (non-dicta)

 5   pronouncements by Washington State courts. See Goodyear Tire, 86 Wash. App. at

 6   745. Astria’s CPA claim should be dismissed.

 7   III.   CONCLUSION

 8          Astria has failed to state a CPA claim against Cerner. Astria has pleaded no

 9   facts to suggest another Washington consumer, let alone a Washington hospital or

10   health system, has allegedly been or will be injured in the same fashion Astria

11   claims it was injured. No amount of linguistic gymnastics on Astria’s part can twist

12   the phrase “substantial portion of the public” to mean one member of the public (or

13   even 117 hospitals for that matter). And Astria cannot alter its status as a

14   sophisticated business entity—as opposed to a naïve consumer vulnerable to

15   exploitation that the CPA was enacted to protect. The private dispute between two

16   sophisticated business entities who negotiated terms in an arms’ length business

17   deal does not affect the public and should be dismissed. See Goodyear Tire, 86

18   Wash. App. at 745.

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 1         Dated this 25th day of May 2021.

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